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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION at LEXINGTON


KENNETH POTTER                          )
                                        )
      Plaintiff,                        )                 Civil Case No.
                                        )                5:16-cv-429-JMH
v.                                      )
                                        )                     ORDER
UNIFUND CCR PARTNERS,                   )
et al.,                                 )
                                        )
      Defendants.                       )
                                        )
                                        )

                             ***
     This matter is before the Court upon the parties’ Joint

Stipulation of Dismissal. [DE 23]. Plaintiff and Defendants advise

the Court that they have reached a settlement.               The Court having

reviewed the Stipulation and being otherwise sufficiently advised,

IT IS ORDERED:


     (1)    that all claims are DISMISSED WITH PREJUDICE, each party

        to bear his, her, or its own costs and attorney’s fees;

     (2)    that all pending deadlines are CONTINUED GENERALLY;

     (3)    that   any   remaining    requests     for    relief   or   pending

        motions are DENIED AS MOOT;

     (4)    and that the Clerk shall STRIKE THIS MATTER FROM THE

        ACTIVE DOCKET.


     This the 15th day of June, 2018.
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